AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                 United States of America
                            Plaintiff
                                                                       )
                          v.                                                Civil Action No.      6-17-cv-2010-TMC
                                                                       )
        Dennis D Brooks; Barbara D Brooks;
                                                                       )
          Greenville County Tax Collector;
                                                                       )
       South Carolina Department of Revenue;
                                                                       )
     **Coach Hills Homeowner’s Association Inc
                     Defendant(s)

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                  recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of         %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
 other: summary judgment is granted for the United States of America. ***Default judgment was granted as
to Defendant Coach Hills Homeowner’s Association Inc on November 16, 2018 [ECF Doc. 138].


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

 decided by the Honorable Timothy M. Cain.


Date: February 15, 2019                                                    CLERK OF COURT


                                                                                      s/L K McAlister, Deputy Clerk
                                                                                       Signature of Clerk or Deputy Clerk
